

People v Moore (2025 NY Slip Op 02415)





People v Moore


2025 NY Slip Op 02415


Decided on April 24, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 24, 2025

Before: Manzanet-Daniels, J.P., González, Shulman, O'Neill Levy, Michael, JJ. 


 Ind. Nos. 2288/19, 3709/19 Sci. No. 824/20|Appeal No. 4185-4186|Case No. 2020-03816 2020-03817|

[*1]The People of The State of New York, Respondent, 
v Anthony Moore, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Andrew H. Chung of counsel), for respondent.



Appeals having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Cori H. Weston, J.), rendered September 09, 2020,
Said appeals having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentences not excessive,
It is unanimously ordered that the judgment so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 24, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








